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9         IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

10                                            CALIFORNIA

11
                                                      Case Number: 15-209 GEB
12   THE UNITED STAES OF AMERICA
                                                      STIPULATION AND [PROPOSED]
13   V.                                               ORDER REGARDING CONDITIONS
                                                      OF PRETRIAL RELEASE
14   CHARLES TUCKER
                                                      DATE: N/A
15                                                    TIME: N/A
                                                      DEPT: Hon. Allison Claire
16

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18          In the matter at bar Defendant seeks to alter the Court's previously issued Pretrial Release
19   Order issued by the Hon. Allison Claire on October 14, 2015.

20          I have spoken with Mr. Tucker's Pretrial Services Officer Mr. Darryl Walker and he has
     informed me that both he and AUSA Chrstiaan Highsmith agree that the order that Mr. Tucker's
21
     requirements that he be subject to ankle monitoring (Special Condition # 15) and a curfew
22
     (Special Condition #16) be deleted. All other orders to remain unchanged.
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1
            IT IS THERFORE STIPULATED:
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3           Mr. Travis Tucker's Special Conditions of Release #15 (Electronic Monitoring) and #16
4    (Curfew) be deleted. All other orders to remain unchanged.

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6
     Dated: April 11, 2016
7    BENJAMIN WAGNER
     United Sates Attorney
8

9
     _______/s/_________
     Christiaan Highsmith
10   ASSISTANT UNITED STATES ATTORNEY

11   Dated: April 11, 2016
     OLAF W. HEDBERG
12
     ______/S/__________
13   Olaf W. Hedberg
     ATTORNEY FOR TRAVIS OLIBAS
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 2
                                            IT IS SO ORDERED
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 4
            Mr. Charles Tucker's Special Conditions of Release # 15 and #16 be deleted so that his
 5   requirements of electronic monitoring curfew shall be terminated. All other orders to remain
 6   unchanged.

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11   Dated: April 12, 2016

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